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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:17-CV-00939-PAB-KMT

  CONOR SOLAWETZ,

          Plaintiff(s),

  v.


  BRETT SCHROETLIN, as the duly elected Sheriff for Grand County, State of Colorado,
  in his official capacity;
  LUKE MCDONALD, Deputy Sheriff for Grand County, State of Colorado, in his individual and
  official capacities;
  DOUG HOLLADAY, Deputy Sheriff for Grand County, State of Colorado, in his individual and
  official capacities; and
  MARLAN ANDERSON, Deputy Sheriff for Grand County, State of Colorado, in his official
  capacity,

          Defendant(s).


                                    FINAL PRETRIAL ORDER

                                   1.        DATE OF APPEARANCES
         A Telephonic Final Pretrial Conference was held before Magistrate Judge Kathleen Tafoya on

  June 11, 2018 at 10:00 a.m. The following parties appeared by counsel:

         Attorneys for the Plaintiff:

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           Anthony J. DiCola
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           Hot Sulphur Springs, CO 80451
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           Email: ajdlaw@ymail.com


           Attorney for the Defendants:

           Courtney B. Kramer
           Senter Goldfarb & Rice, LLC
           3900 E. Mexico Avenue, Suite 700
           Denver, CO 80210
           Telephone: (303) 320-0509
           Facsimile (303) 320-0210
           Email: ckramer@sgrllc.com


                                               2. JURISDICTION

           This action arises under the Constitution and laws of the United States and the State of

  Colorado including Article III, Section I of the United States Constitution and 42 U.S.C. Section 1983.

  Jurisdiction is conferred on this court pursuant to 28 U.S.C. Sections 1331, 1343, and 2201.

  Jurisdiction supporting Plaintiff’s claim for attorney’s fees and costs is conferred by 42 U.S.C. Section

  1988. This court has supplemental jurisdiction over the pendant state claims pursuant to 28 U.S.C.

  Section 1367.

           Venue is proper in the district of Colorado pursuant to 28 U.S.C. Section 1391(b). All the

  events alleged herein occurred within the State of Colorado, and all the parties are residents of the

  state.

                                           3. CLAIMS AND DEFENSES

                   a.      Plaintiff(s):
           Plaintiff contends the following:

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         Doug Holladay (“Holladay”), Luke McDonald (“McDonald”) and Marlan Anderson

  (“Anderson”) were Grand County law enforcement officers performing traditional law enforcement

  functions at all relevant times. Brett Schroetlin (“Schroetlin”) was the Sheriff of Grand County who at

  all times acted under color of law and was charged with determination and implementation of the

  policies and practices of the Grand County Sheriff’s Office including but not limited to policies

  regarding training Deputy sheriffs, policies regarding the use of taser weapons and policies regarding

  the treatment of mentally ill and/or intoxicated individuals. On January 24, 2016, Connor Solawetz

  (“Solawetz”) was booked into the Grand County Jail on charges of driving under the influence,

  underage consumption of marijuana and illegal possession of narcotic paraphernalia. The driving

  under the influence and underage consumption of marijuana charges were subsequently dismissed.

  During the booking process, Solawetz acted strangely and irrationally. He was bleeding from the site

  of a blood draw from his right arm. Solawetz was not provided with medical care for his apparent

  mental illness. Instead, he was placed in a so called “suicide cell”. Once inside the cell Solawetz tied

  a sock around his right arm as the result of a delusional belief that he was stopping poison from a

  blood draw traveling from his right arm into his body. Defendant Anderson ordered Solawetz to

  remove the sock from his arm. When Solawetz failed to remove the sock from his right arm,

  Anderson sought the assistance of Defendants Holladay and McDonald.

         The three officers entered the “suicide cell”. They found Solawetz kneeing on the floor in a

  fetal like position gripping a drainage grate that was welded into the floor. Solawetz made no attempt

  to strike, bite, kick, or threaten any of the three deputies. When Solawetz failed to remove the sock

  from his right arm, Holladay first applied the taser to Solawetz’s chest and then to his back. McDonald

  held Solawetz while the taser was applied to him. The actions of Holladay, McDonald and Anderson


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  deprived Solawetz of his rights under the Fourteenth Amendment to the Constitution of the United

  States in that they used unreasonable force.

         The use of unreasonable force by the individual deputies was the result of the policy and

  practice maintained by the Grand County Sheriff’s Department under the supervision of Defendant

  Schroetlin regarding the treatment of mentally ill and/or intoxicated individuals and regarding the

  excessive use of taser weapons. The Grand County Sheriff’s Department had no written policy

  regarding dealing with mentally ill or intoxicated individuals. Neither did the Grand County Sheriff’s

  Department, during the relevant time period, provide training for deputies in dealing with mentally ill

  or intoxicated individuals. The written protocols regarding use of taser weapons were unclear and did

  not provide adequate guidance to deputies regarding the use of taser weapons on individuals who

  failed to obey the deputy’s commands. The taser officer of the Grand County Sheriff’s office failed to

  provide deputies with current information regarding reasonable use of taser weapons by failing to

  timely inform deputies on the contents of Axon/Taser informational bulletin.

         Solawetz contends that he suffered damages as are provided for under 42 U.S.C. 1983 and

  under Colorado state law.

         These compensatory damages include, but are not limited to pain and suffering, emotional

  damages, loss of past earnings and future lost earnings, loss of enjoyment of life and such other

  damages as are applicable either by statute or common law. Damages include but not limited to: loss

  of an academic scholarship to Montana State University, the cost of past medical care, the cost of

  future medical care, and past and future economic loss stemming from the delay in Solawetz’s

  education.

                 b.      Defendants:

         Defendants deny Plaintiff’s substantive allegations. Plaintiff was arrested by Colorado State
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  Patrol for drug-related issues. He was acting strangely during his interaction with state troopers and

  deputies but at no time was believed to be in need of medical attention or considered to be a danger

  to himself or others.

         When he was taken to the Grand County Jail, Plaintiff refused to change into jail-issued

  clothes but instead ran around the booking room, scattering papers and acting strangely. After he

  became cooperative, Plaintiff was placed in S1 and monitored continually via video footage. At no

  time did he request medical assistance or display a need for medical attention. Rather, Plaintiff’s

  behavior continued to be indicative of being under the influence of drugs. Plaintiff continued to

  behave strangely in the cell, including examining his arm for an extensive period of time, playing

  with a grate in the floor and running around the cell naked. Eventually, Plaintiff removed his two

  socks and shirt and made a tight tourniquet around his arm, in an effort to cut off blood flow to his

  hand. Deputy Anderson immediately directed Plaintiff to remove the tourniquet out of concern for

  Plaintiff’s safety. Plaintiff refused to do so and told Deputy Anderson to go away. As the only

  floor deputy on duty, Deputy Anderson called two patrol deputies for assistance. Deputies

  McDonald and Holladay accompanied Deputy Anderson to the cell and again attempted to

  negotiate verbally with Plaintiff to remove the tourniquet. After numerous refusals to comply with

  their requests, the Deputies entered the cell and attempted to remove the tourniquet themselves.

  Plaintiff actively resisted and took hold of the grate in the floor. Deputies again gave Plaintiff

  opportunities to comply with their requests and warned that failure to comply could result in use of

  the Taser. The Deputies observed Plaintiff’s arm change color due to lack of blood flow. Out of

  concern for his safety and given Plaintiff’s continued refusal to comply, Deputy Holladay applied

  his Taser in “drive-stun” mode for approximately two to three second. Plaintiff then gave Deputies


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  his clothing and changed into a smock provided by the Deputies.

         Defendants deny that the Sheriff’s Office provided inadequate training regarding the

  constitutional use of force, use of the TASER or mental illness. Defendants further deny that the

  force used was excessive and deny that they assaulted Plaintiff in violation of Colorado law.

         Defendants continue to assert the following defenses: (1) Plaintiff’s alleged damages were

  caused by his own acts and conduct and not by reason of any tortious or unconstitutional conduct of

  any Defendant; (2) Plaintiff has failed to mitigate his damages, if any; (3) Plaintiff’s damages are

  not to the nature and extent alleged; (4) Plaintiff’s damages are the result of pre-existing and

  subsequent injury; (5) Defendants are entitled to qualified immunity; (7) Defendants are entitled to

  sovereign immunity and/or qualified immunity under Colorado law.


                                               4. STIPULATIONS

          The parties stipulate to the following facts:

          1.     Jurisdiction and venue are proper.

          2.     Deputies Doug Holladay, Luke McDonald, and Marlan Anderson were Grand County

  Sheriff’s Deputies acting under the color of state law at all relevant times.

          3.     Sheriff Brett Schroetlin was the Grand County Sheriff acting at all times under color of

  law.

          4.     Solawetz acted strangely and irrationally before the booking process, during the

  booking process and all relevant times subsequent to the booking process.

                                            5. PENDING MOTIONS

         The defendants have filed a Motion for Summary Judgment on April 20, 2018. [Dkt. #59]. The

  plaintiff has filed a Response for Summary Judgment on May 24, 2018. [Dkt. #71]. Defendants’ reply

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  brief is currently due on June 7, 2018.

                                         6. WITNESSES

  Plaintiffs’ Witnesses

     a. The following non-expert witnesses will be present at trial: See Plaintiff’s Witness List,
        attached as Exhibit A.

     b. The following non-expert witnesses may be present at trial: See Plaintiff’s Witness List,
        attached as Exhibit A.

                     1. Any additional witness(es) necessary for impeachment, rebuttal, or
                        authentication.

     c. The following expert witnesses will or may be called at trial: See Plaintiff’s Witness List,
        attached as Exhibit A.

  Defendants’ Witnesses

     a.     The following non-expert witnesses will be present at trial: See Defendants’ Witness List,
            attached as Exhibit B.

     b.     The following non-expert witnesses may be present at trial: See Defendants’ Witness List,
            attached as Exhibit B.

                     1.   Any additional witness(es) necessary for impeachment, rebuttal, or
                          authentication.

     c.     The following expert witnesses may or will be called at trial: See Defendants’ Witness List,
            attached as Exhibit B.

  * Both Parties reserve the right to edit or modify the preliminary exhibit lists attached hereto.

                                         7. EXHIBITS

      a.         Exhibits to be used at trial:

           (1)   Plaintiff:      See Plaintiff’s Exhibit List, attached as Exhibit C.

           (2)   Defendants:     See Defendants’ Exhibit List, attached as Exhibit D.

     b.          Copies of Listed exhibits must be provided to opposing counsel no later than 30 days

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  before trial. The objections contemplated by Fed. R. Civ. P. 26(a)(3) shall be filed with the clerk and
  served by hand delivery or facsimile no later than 14 days after the exhibits (in electronic or hard copy
  form, whichever comes first) are provided to opposing counsel.

     c.          The Parties have stipulated to the authenticity of all exhibits being offered. Objections
  can still be made regarding admissibility of the exhibit.

                                        8. DISCOVERY

         Discovery has been completed.

                                        9. SPECIAL ISSUES

          Defendants object to Plaintiff’s witness list to the extent Dr. Adam Richmond is listed as a may
  call expert witness. Dr. Richmond was never disclosed by Plaintiff in any respect and was never
  disclosed as an expert witness pursuant to Fed.R.Civ.P. 26(a)(2). Because Defendants had no notice of
  this individual or opportunity to conduct discovery regarding his knowledge, he should not be
  permitted to testify as a lay witness or an expert witness. Defendants further object to Plaintiff’s
  inclusion of non-identified “before and after witnesses” as individuals must be listed with specificity.
  Additionally, Plaintiff never disclosed “a non-family member, friend, high school teacher, or high
  school coach who can testify to Connor Solawetz’s activities” in advance of the discovery cut-off.

                                        10. SETTLEMENT

     a. Counsel for the parties and any pro se party met (by telephone) on June 1, 2018, to
        discuss in good faith the settlement of the case.

     b. No offers of settlement were made during this conference.

     c. Counsel for the parties and any pro se party do intend to hold future settlement
        conferences.

     d. It appears from the discussion by all counsel and any pro se party that there is some
        possibility of settlement.

     e. Counsel for the parties and any pro se party considered ADR in accordance with
        D.C.COLO.LCivR.16.6


                                       11. OFFER OF JUDGMENT

           Counsel and any pro se party acknowledge familiarity with the provision of Rule
   68 (Offer of Judgment) of the Federal Rules of Civil Procedure. Counsel have discussed it with
   the clients against whom claims are made in this case.
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                                  12. EFFECT OF FINAL PRETRIAL ORDER

          Hereafter, this Final Pretrial Order will control the subsequent course of this action
  and the trial and may not be amended except by consent of the parties and approval by the
  court or by order of the court to prevent manifest injustice. The pleadings will be deemed
  merged herein. This Final Pretrial Order supersedes the Scheduling Order. In the event of
  ambiguity in any provision of this Final Pretrial Order, reference may be made to the record of
  the pretrial conference to the extent reported by stenographic notes and to the pleadings


                           13. TRIAL AND ESTIMATED TRIAL TIME;
                       FURTHER TRIAL PREPARATION PROCEEDINGS

         1. Trial is to a jury.

         2. Trial is expected to take five (5) days.

         3. Trial will be held before the Honorable Philip A. Brimmer in Courtroom A-701, Alfred A. Arraj

             United States Courthouse, 901 19th Street, Denver, Colorado. No date has been set.
                           Jun 07,
                           Adobe   2018
                                 Date Stamp
   DATED this ___ day of                      , 2018.

                                                             BY THE COURT:




                                                             United States Magistrate Judge
                                                             Kathleen M. Tafoya
                                                             United States Magistrate Judge

  APPROVED


   s/                                                       s/
   Anthony J. DiCola                                        Courtney B. Kramer
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   s/
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   Attorneys for Plaintiff




                                       PLAINTIFF’S WITNESS LIST

     CONOR SOLAWETZ, v. BRETT SCHROETLIN, et al. CASE NO: 17-CV-00939-PAB-KMT


               Witness Name                   Description of Testimony          Time on Direct

     Will Call Non-Expert Witnesses

             Connor Solawetz              Connor Solawetz will testify
                                          regarding his trip from Evergreen
                                          to Grand County. He will testify
                                          regarding of the breakdown of the
                                          truck he was driving, his contacts
                                          with State Trooper Erickson, his
                                          arrest, his blood draw, and his
                                          transfer to the Grand County jail.
                                          He will testify to his experiences
                                          in the so-called suicide cell. He
                                          will testify regarding his contacts
                                          with Deputy Anderson. He will
                                          testify regarding his position in
                                          the suicide cell kneeling on the
                                          floor and grasping the grate when
                                          tased. He will also testify to his
                                          experience in the suicide cell and
                                          other confinement until he was

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                                  released to his parents.

                                  In addition, he will testify
                                  regarding his medical treatment
                                  subsequent to being released from
                                  Grand County. In particular he
                                  will testify to his attempts to
                                  return to school and employment.
                                  Solawetz will also testify
                                  regarding his activities in high
                                  school and his attendance at
                                  Montana State University. He
                                  will testify regarding a
                                  scholarship he had received from
                                  Montana State University. He
                                  will testify regarding his present
                                  condition and activities and other
                                  aspects of damages.

            Steve Solawetz        Steve Solawetz is Connor’s
                                  father. He will testify regarding
                                  his son’s condition when released
                                  from the Grand County jail. He
                                  also has knowledge and
                                  information concerning his son’s
                                  emotional and economical
                                  damages. He will testify
                                  regarding his son’s activities
                                  before and after being tased by
                                  the Grand County Sheriff’s
                                  office. He will testify regarding
                                  his son’s past and current
                                  condition and other aspects of
                                  damages.

            Kellie Solawetz       Kellie Solawetz is Connor’s
                                  mother. She will testify regarding
                                  her son’s condition when released
                                  from the Grand County jail. She
                                  also has knowledge and
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                                     information concerning her son’s
                                     emotional and economical
                                     damages. She will testify
                                     regarding her son’s activities
                                     before and after being tased by
                                     the Grand County Sheriff’s
                                     office. She will testify regarding
                                     her son’s past and current
                                     condition and other aspects of
                                     damages.

       Will Call Expert Witnesses

        Shauna Casement, Psy.D       Dr. Shauna Casement is a
                                     psychologist. She has been
                                     designated as one of Plaintiff’s
                                     experts. She will testify in a
                                     fashion consistent with her expert
                                     report and her deposition
                                     testimony.

           Dan Montgomery            Dan Montgomery is the former
                                     Police Chief of Westminster,
                                     Colorado. He is designated as one
                                     of Plaintiff’s experts. He will
                                     testify in a fashion consistent with
                                     his expert report, his deposition
                                     testimony, and his affidavit filed
                                     as an exhibit to Plaintiff’s
                                     Response to Defense’s Motion for
                                     Summary Judgment. His CV is
                                     bates numbered (PLAINTIFF
                                     000926-937)

    May Call Non-Expert Witnesses*

             John Erickson           John Erickson will testify
                                     regarding the facts and
                                     circumstances of his contact with
                                     Connor Solawetz including but

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                                  not limited to Solawetz’s
                                  eccentric behavior.

           Marlan Anderson        Marlan Anderson will testify
                                  regarding the facts and
                                  circumstances of his contact with
                                  Connor Solawetz including but
                                  not limited to his observations of
                                  eccentric behavior and also the
                                  tasing of Connor Solawetz by
                                  Doug Holladay. He will also
                                  testify regarding any training he
                                  received in the use of taser
                                  weapons and in the appropriate
                                  methods for dealing with
                                  mentally ill and/or intoxicated
                                  individuals. He will also testify as
                                  to whether he was informed of the
                                  contents of any bulletins from by
                                  Axon/Taser International received
                                  by Deputy Nathan Rector.

            Luke McDonald         Luke McDonald will testify
                                  regarding the facts and
                                  circumstances of his contact with
                                  Connor Solawetz including but
                                  not limited to the tasing of
                                  Connor Solawetz by Doug
                                  Holladay. He will also testify
                                  regarding any training he received
                                  in the use of taser weapons and in
                                  the appropriate methods for
                                  dealing with mentally ill and/or
                                  intoxicated individuals. He will
                                  also testify as to whether he was
                                  informed of the contents of any
                                  bulletins from by Axon/Taser
                                  International received by Deputy
                                  Nathan Rector.

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            Doug Holladay         Doug Holladay will testify
                                  regarding the facts and
                                  circumstances of his contact with
                                  Connor Solawetz including but
                                  not limited to his decision to use
                                  and his use of a taser weapon
                                  against Connor Solawetz. He will
                                  also testify regarding any training
                                  he received in the use of taser
                                  weapons and any training he
                                  received with regard to dealing
                                  with mentally ill and/or
                                  intoxicated individuals. He will
                                  also testify as to whether he was
                                  informed of the contents of any
                                  bulletins from by Axon/Taser
                                  International received by Deputy
                                  Nathan Rector.

            Nathan Rector         Nathan Rector is the taser officer
                                  for the Grand County Sheriff’s
                                  department. He will testify
                                  regarding the training he
                                  administered to Deputy Sheriffs
                                  in the use of taser weapons. He
                                  will also testify regarding his
                                  practices regarding disseminating
                                  the contents of Axon/Taser
                                  International informational
                                  bulletins to deputies in general
                                  and in particular to the Defendant
                                  Deputies in this case.

             Kyndra Gore          Kyndra Gore is a lieutenant in the
                                  Grand County Sheriff’s
                                  Department. She is the
                                  administrator of the Grand
                                  County jail. She will testify
                                  regarding practices and

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                                    procedures in the Grand County
                                    jail regarding mentally ill and/or
                                    intoxicated inmates. She will also
                                    testify regarding practices and
                                    procedures in the Grand County
                                    jail regarding the use of taser
                                    weapons. Finally, she will testify
                                    regarding her own dealings with
                                    Connor Solawetz and her opinion
                                    on whether he was mentally ill.

           Carman Frattura          Carmen Frattura was a Granby
                                    Police Officer. She will testify
                                    regarding her observations of
                                    Connor Solawtez as she assisted
                                    Trooper John Erickson in his
                                    response to a motorist in need of
                                    assistance. She will also testify
                                    regarding her attempts to contact
                                    Connor Solawetz’s parents.

        Before and After Witness    A non-family member, friend,
                                    high school teacher, or high
                                    school coach who can testify to
                                    Connor Solawetz’s activities
                                    before and after being tased.

       May Call Expert Witnesses*

         Adam Richmond, MD          Dr. Adam Richmond, MD is a
                                    psychiatrist who treated Connor
                                    Solawetz at Denver Springs. He
                                    will testify regarding his care,
                                    treatment, and opinions.




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                                DEFENDANTS’ WITNESS LIST

     CONOR SOLAWETZ, v. BRETT SCHROETLIN, et al. CASE NO: 17-CV-00939-PAB-KMT


             Witness Name                 Description of Testimony           Time on Direct

     Will Call Non-Expert Witnesses   Marlan Anderson. Deputy
                                      Anderson had several interactions
                                      with Plaintiff on January 24, 2016
                                      and in the early morning hours of
                                      January 25, 2016. He observed
                                      the use of the drive stun TASER
                                      application and will testify in
                                      person regarding his
                                      communications with and
                                      observations of Plaintiff. As he is
                                      only named in his official
                                      capacity, he will also testify about
                                      the lack of supervisory authority
                                      he has over other Deputies,
                                      including Deputies Holladay and
                                      McDonald.

                                      John Erickson. Trooper Erickson
                                      conducted the initial traffic stop
                                      of Plaintiff and called for agency
                                      assistance from the Grand County
                                      Sheriff’s Office. Trooper
                                      Erickson will testify in person
                                      regarding his observations of and
                                      interactions with Plaintiff.

                                      Douglas Holladay. Deputy
                                      Holladay will testify in person
                                      regarding his interactions with
                                      Plaintiff on January 25, 2016 and
                                      his use of the TASER. He will
                                      testify regarding his efforts made
                                      to obtain compliance and that the

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                                     force used was not excessive but
                                     warranted under the
                                     circumstances.

                                     Luke McDonald. Deputy
                                     McDonald will testify in person
                                     regarding his interactions with
                                     Plaintiff on January 25, 2016 and
                                     his observations of other
                                     Deputies’ interactions. He will
                                     testify regarding the efforts made
                                     to protect Plaintiff and that the
                                     force used was not excessive.

                                     Brett Schroetlin. Sheriff
                                     Schroetlin will testify in person
                                     regarding Grand County Jail and
                                     Sheriff Officer protocols, policies
                                     and procedures as well as his
                                     knowledge of the events on
                                     January 25, 2016.

    May Call Non-Expert Witnesses*   Kyndra Gore. Lieutenant Gore
                                     may testify in person regarding
                                     her observations of Plaintiff as
                                     well as her review of the
                                     situation. She will also testify
                                     about the events of January 25,
                                     2016 and her interaction with
                                     Plaintiff.

                                     Carmen Frattura. Ms. Frattura
                                     was an officer with the Granby
                                     Police Department. She may
                                     testify in person regarding her
                                     interaction with and observations
                                     of Plaintiff on January 24, 2016.

                                     Eric Johnson. Trooper Johnson
                                     may testify in person regarding

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                                  his observations of and
                                  interaction with Plaintiff on
                                  January 24, 2016.

                                  Dan Mayer. Lieutenant Mayer
                                  may testify in person regarding
                                  his interaction with Plaintiff and
                                  his parents at the Grand County
                                  Jail on January 25, 2016,
                                  including the accommodations
                                  made for Plaintiff based on his
                                  continued behavior.

                                  Wayne Schafer. Undersheriff
                                  Schafer may testify in person
                                  regarding his observations of
                                  Plaintiff while he was in the
                                  Grand County Jail and his review
                                  of actions taken by Deputies
                                  during that time period.

                                  Lance Schofield. Sergeant
                                  Schofield may testify in person
                                  regarding the events involving
                                  Plaintiff on January 25, 2016 as
                                  well as his review of the use of
                                  force.

                                  Connor Solawetz. Plaintiff may
                                  testify in person regarding the
                                  events leading to his arrest, his
                                  actions and behavior while in the
                                  Grand County Jail and his alleged
                                  damages, including use of drugs
                                  and effect of same.

                                  Nate Rector. Deputy Rector may
                                  testify in person regarding
                                  TASER training and information
                                  from TASER

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                                  International/Axxon.

                                  Any witness necessary to lay a
                                  foundation for an exhibit.

                                  Any witness necessary for
                                  rebuttal testimony.

    Will Call Expert Witnesses    None.

    May Call Expert Witnesses     Stephanie Roberts, LPC,
                                  Lutheran Medical Center, 3400
                                  Lutheran Pkwy., Wheat Ridge,
                                  CO 80033; telephone: (303) 425-
                                  4500. Stephanie Roberts is a
                                  Licensed Professional Counselor
                                  at Lutheran Medical Center. She
                                  performed a behavioral health
                                  consultation on Plaintiff on
                                  January 26, 2016, in the days
                                  following the incident giving rise
                                  to this litigation. She will testify
                                  regarding the cause of Plaintiff’s
                                  damages and the extent and
                                  nature of his diagnoses.

                                  Amber Lynn Johnson, MD, West
                                  Pines Behavioral Health Center,
                                  3400 Lutheran Pkwy., Wheat
                                  Ridge, CO 80033; telephone:
                                  (303) 467-4080. Dr. Johnson was
                                  the lead physician who provided
                                  treatment to Plaintiff during the
                                  course of his inpatient stay at
                                  West Pines Behavioral Health
                                  Center from January 27, 2016
                                  until February 1, 2016. She will
                                  testify regarding the cause of
                                  Plaintiff’s alleged injuries.


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                                  Kelsey Whittlesey, MA, LPC,
                                  LAC, Jefferson Center for Mental
                                  Health, 4851 Independence St.,
                                  #100, Wheat Ridge, CO 80033;
                                  telephone: (303) 425-0300.
                                  Kelsey Whittlesey provided
                                  therapy to Plaintiff during several
                                  of his visits to Jefferson Center
                                  for Mental Health between
                                  February 15, 2016 and June 17,
                                  2016. She will testify regarding
                                  her treatment of Plaintiff and his
                                  alleged damages.




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                                  PLAINTIFF’S EXHIBIT LIST*
        CONOR SOLAWETZ, v. BRETT SCHROETLIN, et al. CASE NO: 17-CV-00939-PAB-KMT

                                                                                               Ruling
Ex. #      Witness              Description                Stipulated   Received   Rejected
                                                                                              Reserved

                        Solawetz Combined Video by
                       Date/Time Order (Exhibit 40 to
                       Conventionally filed Exhibit to
                     Plaintiff’s Response to Defendants’
                      Motion for Summary Judgment)

                       2 still photographs of chest and
                      back taser strikes (Exhibit 42 to
                     Plaintiff’s Response to Defendants’
                      Motion for Summary Judgment)
                      (Photos taken from Bates 44-46)

                      Body worn camera footage taken
                     by Officer Carment Frattura of the
                       Grandview Police Department
                     (Exhibit 43 to Conventionally filed
                      Exhibit to Plaintiff’s Response to
                      Defendants’ Motion for Summary
                         Judgment. Bates Stamped
                              PLAINTIFF 43)

                     Axon/Taser Bulletin (PLAINTIFF
                              000785-787)

                         Graduation Records from
                          Evergreen High School
                          (PLAINTIFF 000867)

                     ACT Scores (PLAINTIFF 000868)

                     Freshman Montana State Grades
                          (PLAINTIFF 000788)



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                  Documentation of Scholarship at
                         Montana State

                 C.B.I. Forensic services lab report
                          (PLAINTIFF 41)

                    Solawetz family photographs

                  Photographs, Connor Solawetz’s
                         athletic activities

                 Montgomery Affidavit (Exhibit 18
                  to Plaintiff’s Reply to Summary
                              Judgment)

                  Evergreen Fire Rescue Medical
                 Records (PLAINTIFF 000187-192)

                   Evergreen Fire Rescue Billing
                             Records

                 Lutheran Medical Center Medical
                 Records (PLAINTIFF 000255-447)

                  Lutheran Medical Center Billing
                            Records

                    West Pines Medical Records
                     (PLAINTIFF 000047-186)

                     West Pines Billing Records

                 Jefferson Center for Mental Health
                   Medical Records (PLAINTIFF
                            000193-254)

                 Jefferson Center for Mental Health
                           Billing Records

                   Dr. Shauna Casement Records
                     (PLAINTIFF 000948-977)


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                             Boulder Community Hospital
                            Medical Records (PLAINTIFF
                           000716-764, PLAINTIFF 000765)

                             Boulder Community Hospital
                                   Billing Records

                             St. Anthony Hospital Medical
                           Records (PLAINTIFF 000577-641)

                              St. Anthony Hospital Billing
                                       Records

                            Denver Springs Hospital Medical
                            Records (PLAINTIFF 0000448-
                                         552)

                            Denver Springs Hospital Billing
                                       Records

                             Video Surveillance of Connor
                           Solawetz in custody (PLAINTIFF
                                         44-46)


* Plaintiff reserves the right to amend this list prior to trial




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